                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST
LITIGATION
                                             No. 1:16-cv-08637
This Document Relates to:
                                             Hon. Thomas Durkin
All Indirect Purchaser Plaintiff Actions




                 RENEWED MOTION TO APPOINT SEPARATE INTERIM
               CLASS COUNSEL FOR INDIRECT PURCHASER CONSUMERS




010636-11 918171 V1
                                                 TABLE OF CONTENTS
                                                                                                                                       Page

I.       INTRODUCTION ...............................................................................................................1 

II.      BACKGROUND .................................................................................................................4 

III.     CONSUMERS SHOULD BE APPOINTED SEPARATE COUNSEL
         DUE TO A CURRENT CONFLICT OF INTEREST WITH RESELLERS. .....................5 

         A.        A Lawyer Shall Not Represent a Client if the Representation Involves a
                   Concurrent Conflict of Interest ................................................................................5 

         B.        An Expert in Attorney Ethics Finds An Impermissible Conflict of
                   Interest in the Joint Representation of Resellers and Consumers in
                   This Case .................................................................................................................6 

         C.        The Conflict Has Already Manifested Itself. ...........................................................7 

         D.        The Conflict Will Continue Throughout the Litigation.....................................11 

                   1.         Pleading. ....................................................................................................11 

                   2.         Discovery. ..................................................................................................12 

                   3.         Class Certification. .....................................................................................13 

                   4.         Summary Judgment and Trial. ................................................................14 

IV.      CONCLUSION ................................................................................................................15 




010636-11 918171 V1                                          -i-
                                                TABLE OF AUTHORITIES
                                                                                                                                 Page(s)
                                                                 CASES

Alexander Proudfoot PLC v. Fed. Ins. Co.,
   1994 WL 110531 (N.D. Ill. Mar. 30, 1994) ...............................................................................6

Blades v. Monsanto Co.,
   400 F.3d 562 (8th Cir. 2005) ...................................................................................................13

In re Cathode Ray Tube (CRT) Antitrust Litig.,
    2013 WL 5391159 (N.D. Cal. Sept. 24, 2013) ....................................................................9, 10

Comcast Corp. v. Behrend,
  133 S. Ct. 1426 (2013) .............................................................................................................13

In re Domestic Drywall Antitrust Litig.,
    2016 U.S. Dist. LEXIS 90619 (E.D. Pa. July 13, 2016) ..........................................................12

Guillen v. City of Chicago,
   956 F. Supp. 1416 (N.D. Ill. 1997) ........................................................................................2, 6

Harrison v. E. I. DuPont De Nemours & Co.,
   2016 U.S. Dist. LEXIS 77465 (N.D. Cal. June 13, 2016) .................................................10, 12

In re Hydrogen Peroxide Antitrust Litig.,
    552 F.3d 305 (3d Cir. 2008)...............................................................................................13, 14

Illinois Brick Co. v. Illinois,
     431 U.S. 720 (1977) ...................................................................................................................9

Installation Software Techs., Inc. v. Wise Solutions, Inc.,
    2004 WL 524829 (N.D. Ill. Mar. 5, 2004) .................................................................................6

Lewis v. National Football League, et al.,
   146 F.R.D. 5 (D.D.C. 1992).......................................................................................................5

Messner v. Northshore Univ. HealthSystem,
   669 F.3d 802 (7th Cir. 2012) ...................................................................................................13

In re Methionine Antitrust Litig.,
    204 F.R.D. 161 (N.D. Cal. 2001) ...............................................................................................7

In re New Motor Vehicles Canadian Exp. Antitrust Litig.,
    522 F.3d 6 (1st Cir. 2008) ........................................................................................................13

In re Optical Disk Drive Antitrust Litig.,
    2016 U.S. Dist. LEXIS 15899 (N.D. Cal. Feb. 8, 2016) ...................................................10, 14




010636-11 918171 V1                                          - ii -
In re OSB Antitrust Litig.,
    2007 WL 2253425 (E.D. Pa. Aug. 3, 2007) ..............................................................................9

In re Parking Heaters Antitrust Litig.,
    310 F.R.D. 54 (E.D.N.Y. 2015) .................................................................................................9

In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,
    827 F.3d 223 (2d Cir. 2016).......................................................................................................6

In re Polyurethane Foam Antitrust Litig.,
    314 F.R.D. 226 (N.D. Ohio), aff’d, 2014 U.S. App. LEXIS 24707 (6th Cir.
    2014) ........................................................................................................................................10

In re Static Random Access Memory (SRAM) Antitrust Litig.,
    264 F.R.D. 603 (N.D. Cal. 2009) ...............................................................................................9

Somers v. Apple, Inc.,
   258 F.R.D. 354 (N.D. Cal. 2009) .............................................................................................14

In re TFT-LCD (Flat Panel) Antitrust Litig.,
    2012 U.S. Dist. LEXIS 21696 (N.D. Cal. Feb. 21, 2012) .......................................................12

                                                                 STATUTES

15 U.S.C. § 15(a) .............................................................................................................................7

CAL. BUS. & PROF. CODE § 16750(a) ...............................................................................................7

                                                           Other Authorities

Beth Winegarner, Best Buy Loses LCD Price-Fixing Trial Against Toshiba (Sept.
   3, 2013, 8:42 PM EDT)..............................................................................................................8

Pierre Y. Cremieux, “Assessing Conflict, Impact, and Common Methods of Proof
    in Intermediate Indirect-Purchaser Class Action Litigation,” Economics
    Committee Newsletter (ABA Spring 2006).............................................................................12




010636-11 918171 V1                                             - iii -
                                    I.      INTRODUCTION

         Consumer Plaintiffs1 respectfully renew their motion to appoint Steve W. Berman of

Hagens Berman Sobol Shapiro LLP (“Hagens Berman”) and Kit A. Pierson of Cohen Milstein

Sellers & Toll PLLC (“Cohen Milstein”) as separate interim co-lead counsel (together

“Consumer Counsel”) for the proposed indirect purchaser consumer class (“Consumer Class” or

“Consumers”). Plaintiffs bring this motion only after (1) careful review of the allegations in the

newly filed Indirect Purchaser Plaintiffs’ Second Amended Consolidated Class Action

Complaint (2nd IPP Complaint),2 (2) serious consideration and analysis of the conflict-of-interest

rules at play, (3) recognition of a current conflict presented by the new allegations in the

complaint, and (4) solicitation of an independent expert opinion on the issue. In its decision to

appoint one interim co-lead counsel group (“Indirect Purchaser Counsel”) to represent all

Indirect Purchaser Plaintiffs, this Court noted that “Consumer end user counsel is free to re-raise

the appointment issue” if and when a conflict arises between Resellers and Consumers. (10/14/16

Order, ECF No. 144, at 5). Plaintiffs now re-raise the appointment issue because allegations in

Indirect Purchasers’ newly filed complaint present a current conflict of interest between

Resellers and Consumers. Indirect Purchaser Counsel object to this motion.




    1
      Daniel M. Percy, Gloria J. Lathen, and Jonas Dimas (plaintiffs who filed the Percy
Complaint); together with Dorothy Monahan, Frank Coe, Lester Patterson, Pamela Tierney,
Linda Cheslow, and Natalie Wilbur (plaintiffs who filed the Monahan Complaint); and
Christopher Gilbert, Alison Pauk, Marilyn Strangeland, Leslie Weidner, and David Weidner
(plaintiffs who filed the Gilbert complaint) (collectively, the “Percy, Monahan, and Gilbert
Plaintiffs” or the “Consumer Plaintiffs”).
    2
      The 2nd IPP Complaint was filed November 23, 2016, ECF No. 213. The relevant
allegations also appear in Indirect Purchaser Plaintiffs’ first consolidated amended complaint
(“IPP Complaint”) filed October 28, 2016, ECF No. 179. Indirect Purchaser Counsel filed both
of these amended complaints within the last several weeks, after being appointed interim co-class
and liaison counsel.


010636-11 918171 V1
                                                -1-
          In their 2nd IPP Complaint, Indirect Purchaser Counsel lump Resellers and Consumers

together and fail to make specific allegations of antitrust impact for either. As the Court knows,

to prevail on their claims, plaintiffs must prove that they were harmed by defendants’ conduct.

Resellers want to show they were injured by paying supra-competitive prices for broiler chickens

and not passing the overcharges along to consumer end users. Consumers want to show the

opposite: that the overcharges were passed through to them, and that the antitrust injury was

suffered by them rather than by Resellers. Attempting to represent both of these competing

interests in the 2nd IPP Complaint, Indirect Purchaser Counsel split the baby and allege:

          “It is well recognized that in a multi-level chain of distribution, such as exists
          here, an overcharge will be felt throughout the distribution chain.” “In most cases
          [resellers] will absorb part of these increased costs themselves and pass part along
          …. Every person at every stage in the chain likely will be poorer as a result of the
          monopoly price at the top.”

(2nd IPP Complaint, ¶ 382.)3 This allegation—that Resellers absorbed part of the overcharges—

is in direct conflict with Consumers’ interest in proving that 100% or more of the overcharges

were passed through to them and constitute their damages in this case. This is a current conflict

prohibited by Rule 1.7 of the ABA Model Rules of Professional Conduct.4 Indirect Purchaser

Counsel’s expressed bias on the issue of pass-through, and the explicit claim in their complaint

that some of the overcharge is absorbed by resellers and not passed through as damages to

consumers, will shape discovery and the selection of experts in favor of one subclass over

another. The representation of Consumers will be impermissibly limited by counsel’s

responsibilities to Resellers.




    3
        See also IPP Complaint, ¶ 353.
    4
     See Local Rule 83.50 (adopting the model Rules of the American Bar Association); See
also Guillen v. City of Chicago, 956 F. Supp. 1416, 1420-21 (N.D. Ill. 1997).


010636-11 918171 V1
                                                  -2-
         Given the apparent conflict of interest, Consumer Plaintiffs sought out an independent

opinion on the issue from Mary Robinson, a well-recognized expert in attorney ethics. Ms.

Robinson served as the Administrator of the Attorney Registration and Disciplinary Commission

of the Supreme Court of Illinois (ARDC) for 15 years, supervising the prosecution of hundreds

of disciplinary cases involving lawyers alleged to have engaged in representations involving

conflicts of interest. (See Declaration of Mary Robinson (“Robinson Decl.”) at 1, attached as

Exhibit A.) She continues to make presentations to national audiences and Illinois lawyers on

professional responsibility issues. (Id. at 1-2.) After considering the competing burdens of proof

of Resellers and Consumers in this action, Ms. Robinson concluded that a conflict exists (id. at

3-5):

         Representation of putative classes of indirect resellers and end-use consumers by
         the same class counsel in the broiler chicken antitrust litigation involves a
         concurrent conflict of interest as defined by Rule 1.7(a)(2). … The option of
         appointing separate counsel for one of the subclasses for purposes of an allocation
         hearing does not cure the problem. The interests of the classes diverge at several
         stages before that point in the representation, and counsel will, by then, already
         have been put to the choice of favoring the interests of one class over those of the
         other. [Id. at 5, 4.]

         Given the conflict of interest, Indirect Purchaser Counsel are no longer adequate to

represent the Consumer Class under FRCP 23(g). Hagens Berman and Cohen Milstein have

taken the lead in investigating and pursuing the claims of Indirect Purchaser Consumers and have

demonstrated their loyalty to this subclass. Further, Hagens Berman and Cohen Milstein satisfy

the requirements of FRCP 23(g)5 and have a record of tremendous success working together in




    5
     See Application for Appointment of Steve W. Berman of Hagens Berman Sobol Shapiro
LLP and Kit A. Pierson of Cohen Milstein Sellers & Toll PLLC as Co-Lead Counsel for the
Indirect Purchaser Consumer Class, ECF No. 117 (“HB Motion”) at 1-10; 10/14/16 Order, ECF
No. 144, at 4.


010636-11 918171 V1
                                                 -3-
antitrust class actions.6 Therefore, the Consumer Plaintiffs respectfully request that the Court

appoint Hagens Berman and Cohen Milstein as interim co-lead counsel for the proposed Indirect

Purchaser Consumer Class.

          To be clear, consumer Plaintiffs do not object to the continued representation of Indirect

Purchaser Resellers by Gustafson Gluek PLLC (“Gustafson Gluek”), Cotchett Pitre &

McCarthy LLP (“Cotchett Pitre”), and Wexler Wallace LLP (“Wexler Wallace”).

                                       II.     BACKGROUND

          At least 11 class-actions against defendants were filed in the Northern District of Illinois

alleging a price-fixing and supply restriction conspiracy under federal and/or state antitrust laws

to raise the prices of broiler chickens (“broilers”). Three cases were filed on behalf of direct

purchasers, which buy broilers directly from the defendants (“Direct Purchasers”). Three cases

were filed on behalf of indirect purchaser resellers, such as small grocery stores and restaurants,

which purchase the broilers from distributors and resell them (“Resellers”). And five cases were

filed on behalf of indirect purchaser consumers, who purchase the broilers for personal use

(“Consumers” or “End Users”). Of the five cases filed on behalf of Consumers, three were filed

by Hagens Berman or Cohen Milstein, and none were filed by Gustafson Gluek, Cotchett Pitre,

or Wexler Wallace.7 Indeed, after “many months of investigation and research,”8 these three



    6
        See HB Motion at 1.
    7


    DATE FILED             ACTION                                           COUNSEL
    9/13/2016          Drucker v. Koch Foods, Inc., et al.,                    Wolf Haldenstein
                       No. 16-cv-08874
    9/14/2016          Percy v. Koch Foods, Inc. et al.,                       Hagens Berman;
                       No. 16-cv-08931                                         Hudson Mallaney;
                                                                               Freydin


010636-11 918171 V1
                                                  -4-
firms filed their initial complaint on behalf of Resellers alone, and did not identify any claims on

behalf of Consumers.9 In another case where Cotchett Pitre was appointed to represent both

Indirect Purchaser resellers and end users, the firm chose to voluntarily dismiss the claims of end

users and proceed only on behalf of Resellers.10 By contrast, Hagens Berman and Cohen

Milstein have focused on representing the interests of Consumers in this litigation. They have

worked with economists in the industry to investigate and determine that End-User Consumers

of broiler chickens are likely the most harmed among the plaintiffs because the supra-

competitive prices charged by Defendants were passed through to them.

  III.       CONSUMERS SHOULD BE APPOINTED SEPARATE COUNSEL DUE TO A
                CURRENT CONFLICT OF INTEREST WITH RESELLERS.

A.         A Lawyer Shall Not Represent a Client if the Representation Involves a Concurrent
           Conflict of Interest

           Rule 1.7(a) of the ABA Model Rules of Professional Conduct, as adopted by Local Rule

83.50, provides:

     9/16/2016          Gilbert v. Tyson Foods, Inc., et al.,               Cohen Milstein
                        No. 16-cv-09007
     10/04/2016         Monahan, et al. v. Koch Foods, Inc., et al.,        Hagens Berman
                        No. 16-cv-09490
     10/21/2016         Glover v. Koch Foods, Inc., et al.,                 Wolf Haldenstein;
                        No. 16-cv-09912
                                                                            Gainey McKenna

     8
      Motion for Appointment of Gustafson Gluek PLLC and Cotchett, Pitre & McCarthy LLP as
Interim Class Counsel and Wexler Wallace LLP as Liason counsel for Indirect Purchaser
Plaintiffs, ECF No. 116 (“GG Motion”), at 6.
     9
         See Fargo Stopping Ctr., LLC v. Koch Foods, Inc., et al., No. 16-cv-08851.
     10
      See Notice of Voluntary Dismissal Pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(i), In re Capacitors Antitrust Litig., No. 14-C-03264 (N.D. Cal.) (ECF No. 594),
attached as Exhibit B. Courts have held that counsel’s willingness to abandon certain class
members with which it has a conflict constitutes “an explicit demonstration of a lack of the
necessary loyalty” to class members. Lewis v. National Football League, et al., 146 F.R.D. 5,
11-12 (D.D.C. 1992).


010636-11 918171 V1
                                                   -5-
           [A] lawyer shall not represent a client if the representation involves a concurrent
           conflict of interest. A concurrent conflict of interest exists if: (1) the
           representation of one client will be directly adverse to another client; or (2) there
           is a significant risk that the representation of one or more clients will be
           materially limited by the lawyer's responsibilities to another client….

In other words, if representation of Consumers in this case risks materially limiting Indirect

Purchaser Counsel’s responsibilities to Resellers, the representation runs afoul of the ethics rules.

Rule 1.7 exists to ensure “that clients receive the undivided loyalty of their counsel.”11 The duty

to avoid conflicts is serious. The Second Circuit recently vacated class certification and reversed

approval of a $7.25 billion settlement due to a conflict in class counsel’s representation of classes

with competing interests. See In re Payment Card Interchange Fee & Merch. Disc. Antitrust

Litig.12 “[U]nitary representation of these plaintiffs was inadequate” under Rule 23(a)(4) and

due process because one class was incentivized to maximize cash for past harm and the other to

maximize restraints to prevent future harm.13

B.         An Expert in Attorney Ethics Finds An Impermissible Conflict of Interest in the
           Joint Representation of Resellers and Consumers in This Case

           Recognized legal ethicist Mary Robinson concludes that joint representation of Resellers

and Consumers in this case involves a concurrent conflict of interest under Rule 1.7(a)(2)

primarily because “[c]ounsel’s representation of one of the subclasses for purposes of pleading,

developing evidence, and undertaking to prove injury will be materially limited by counsel’s




     11
      Guillen, 956 F. Supp. at 1421; see also, Installation Software Techs., Inc. v. Wise
Solutions, Inc., 2004 WL 524829, at *3 (N.D. Ill. Mar. 5, 2004) (Coar, J.); Alexander Proudfoot
PLC v. Fed. Ins. Co., 1994 WL 110531, at *3 (N.D. Ill. Mar. 30, 1994) (“One of the animating
objectives of Rule 1.7 . . . is to ensure that attorneys provide their clients with undivided
loyalty.”).
     12
          827 F.3d 223 (2d Cir. 2016).
     13
          Id. at 233.


010636-11 918171 V1
                                                    -6-
responsibilities to the other class to plead and prove opposite conclusions.” (Exhibit A, Robinson

Decl. at 6.) In her declaration, Ms. Robinson highlights areas of current conflict:

          On the essential element of injury, the law firm’s ability to consider and carry out
          its responsibilities to indirect resellers 1) to plead that the class did not pass
          through overcharges, 2) to conduct fact discovery that will produce data
          supporting that assertion, 3) to retain experts to opine that data shows that
          overcharges were not passed through, 4) to persuade that the class should be
          certified because indirect resellers can prove that on a class-wide basis, they did
          not pass through overcharges, and 5) to then undertake to actually prove that
          overcharges were not passed through will necessarily be materially limited by the
          firm’s responsibilities to end-use consumers to do just the opposite – 1) to plead
          that overcharges were passed through, 2) to obtain the financial records of the
          indirect resellers and comb them for data showing that overcharges were passed
          through, 3) to find experts who will analyze the data and propose a measure
          showing pass-through of overcharges on a class-wide basis, 4) to seek class
          certification by persuading that the consumers can show class-wide injury because
          overcharges were passed through, and 5) to then undertake to prove that
          overcharges were indeed passed through.

                  The option of appointing separate counsel for one of the subclasses for
          purposes of an allocation hearing does not cure the problem. The interests of the
          classes diverge at several stages before that point in the representation, and
          counsel will, by then, already have been put to the choice of favoring the interests
          of one class over those of the other. [Id. at 4.]

C.        The Conflict Has Already Manifested Itself.

          As Ms. Robinson points out, to prevail in their action for damages under the antitrust

laws, Indirect Purchaser Plaintiffs must do more than prove Defendants conspired to raise the

prices of broiler chickens. They must further establish the existence of “injury” to their business

or property, also referred to as “impact” or “fact of damage.” In re Methionine Antitrust Litig.,

204 F.R.D. 161, 164 (N.D. Cal. 2001). “Injury” is an essential element of a price-fixing claim

under state as well as federal law.14 To allege and prove injury, Consumers must show that the

overcharges were passed through to them—that they were injured by paying supra-competitive


     14
      See, e.g., CAL. BUS. & PROF. CODE § 16750(a) (a cause of action may be brought by any
person “who is injured” by an antitrust violation); 15 U.S.C. § 15(a).


010636-11 918171 V1
                                                  -7-
prices for broilers. Conversely, Resellers must allege and prove that they were injured by the

overcharges because they were not able to pass through the overcharges to End Users. This is a

present conflict of interest at the pleading and discovery stage. If, down the road, the evidence

shows that both Resellers and Consumers were injured, the conflict of interest will persist at the

expert analysis, class certification, and damages stage. Consumers will want to maximize their

damages by proving that nearly 100% of the overcharges were passed through to them. Resellers

will want to show that they absorbed most of the overcharges and passed through very little.

         The case-law addressing Indirect Purchaser claims shows the conflict between

 resellers and consumers playing out as Ms. Robinson opined. The competing interests are

 reflected in excerpts from a PowerPoint presentation submitted by a defendant’s expert in

 In re TFT-LCD (Flat Panel) Antitrust Litig., No. 3:07-md-01827 (N.D. Cal.). In TFT-LCD,

 the retailer Best Buy alleged Toshiba participated in a conspiracy to fix prices on liquid

 crystal display panels. Best Buy’s experts estimated that Toshiba and one other LCD

 manufacturer owed the electronics retailer up to $770 million for selling it products that

 contained the price-fixed panels, which it then resold to customers.15 Toshiba’s experts,

 however, testified that even had it engaged in the conspiracy, Best Buy was not damaged,

 because Best Buy, on average, passed through 100% (and sometimes more) of the

 overcharge to consumers.16 Thus, although the jury found that Best Buy was harmed, the

 jury awarded Best Buy just $7.5 million in damages.17 In this example, it would have been

 impossible for counsel representing Best Buy to also represent consumers.

    15
      Beth Winegarner, Best Buy Loses LCD Price-Fixing Trial Against Toshiba (Sept. 3, 2013,
8:42 PM EDT), http://www.law360.com/articles/469722/best-buy-loses-lcd-price-fixing-trial-
against-toshiba (last visited Oct. 7, 2016), attached as Exhibit C.
    16
         Exhibit D, attached, at 7.
    17
         Beth Winegarner, Best Buy Loses LCD Price-Fixing Trial Against Toshiba, Exhibit C.


010636-11 918171 V1
                                               -8-
          In In re OSB Antitrust Litigation, the court held that reseller plaintiffs were inadequate to

 represent end-user plaintiffs because of contradictions in their testimony regarding pass

 through. 2007 WL 2253425, at *5 (E.D. Pa. Aug. 3, 2007). “[T]he gravamen of [end-user]

 Plaintiffs’ theory of economic injury and causation [was] that OSB resellers throughout the

 chain of distribution passed through 100% of Defendants' OSB price increases.” Id. Yet

 resellers testified that they did not pass through price increases to end users. The court

 disqualified these resellers from representing the end-user plaintiffs because their testimony

 “directly contradict[ed] a critical class allegation.” Id.18 Resellers’ impact and damage claims

 are dependent on minimizing the amount of pass through, whereas Consumers want to

 maximize pass through (at or above 100%).

          It has been long recognized in economics and the law that consumers are the parties

 who ultimately get stuck suffering the damages from an antitrust overcharge that occurs at

 the top of the distribution chain. As Justice Brennan stated in dissent in Illinois Brick:

          The Court today regrettably weakens the effectiveness of the private treble-
          damages action as a deterrent to antitrust violations by, in most cases,
          precluding consumers from recovering for antitrust injuries. For in many
          instances, consumers, although indirect purchasers, bear the brunt of antitrust
          violations.

Illinois Brick Co. v. Illinois, 431 U.S. 720, 764 (1977). Cases brought under state law

Illinois Brick “repealer statutes” have consistently showed Justice Brennan to be correct.

          During class certification and Daubert proceedings in In re Static Random Access
           Memory (SRAM) Antitrust Litig., an expert economist “found a 103 percent pass-
           through rate on sales to end-users.” 264 F.R.D. 603, 614 (N.D. Cal. 2009).

          During class certification and Daubert proceedings in In re Cathode Ray Tube (CRT)
           Antitrust Litig., an expert economist concluded based on 47 models that, for end

    18
      But see In re Parking Heaters Antitrust Litig., 310 F.R.D. 54, 58-59 (E.D.N.Y. 2015)
(appointing interim lead counsel to represent all indirect purchasers, finding that “the record does
not yet establish that any actual conflict exists” between resellers and end-users).


010636-11 918171 V1
                                                  -9-
           customers, “the pass-through rate down the distribution channel is at least 100 percent
           of the cartel’s overcharge.” 2013 WL 5391159, at *4 (N.D. Cal. Sept. 24, 2013).

          During class certification proceedings in In re Optical Disk Drive Antitrust Litig., an
           expert economist opined, based on an empirical study of the market, that “the pass-
           through rate was 100 percent or greater at all price points” from retailers to consumers.
           2016 U.S. Dist. LEXIS 15899, at *63-64 (N.D. Cal. Feb. 8, 2016). The court held that
           “plaintiffs have proffered evidence that in competitive markets, economic theory
           (supported by empirical studies) consistently predicts that pass-through rates will be at
           or near 100%.” Id. at 63.

          Denying a Rule 12(b)(1) motion, the court in Harrison v. E. I. DuPont De Nemours &
           Co. found that actual prices and “economic theory indicates [overcharge to paint
           companies] will lead to a near one hundred percent pass-through rate of cost increases”
           for end-user class that purchased paint “for personal use.” 2016 U.S. Dist. LEXIS
           77465, at *10 (N.D. Cal. June 13, 2016).

          During class certification proceedings in In re Polyurethane Foam Antitrust Litig.,
           regressions showed that direct purchasers passed on to retailers “124 percent” of the
           increase in costs, but retailers passed on “148 percent” of that increase to end users and
           thus were not impacted. 314 F.R.D. 226, 281 (N.D. Ohio), aff’d, 2014 U.S. App. LEXIS
           24707 (6th Cir. 2014).

           Consumers in our case could make a strong argument that 100% of more of the

 overcharges on broiler chickens were passed through to them. But Indirect Purchaser Counsel’s

 representation of Resellers restrains them from making this argument. Indeed, in their second

 amended complaint on behalf of Resellers and Consumers, Indirect Purchaser Counsel instead

 allege that overcharges “will be felt throughout the distribution chain,” with resellers

 “[absorbing] part of these increased costs themselves.”19

           In support of their Motion for Appointment as Interim Class Counsel, Indirect Purchaser

 Counsel referenced their success representing all indirect purchasers in the DRAM litigation.20

 But it is not clear that this was a success for end users of DRAM. In that case, counsel resolved

 the conflict between indirect purchaser resellers and end-users by crafting “a pro rata plan of


    19
         2nd IPP Complaint, ¶ 382; see also IPP Complaint, ¶ 353.
    20
         GG Motion at 14.


010636-11 918171 V1
                                                 - 10 -
 distribution”21 in which “the claims of all resellers, end-buyer business and households will be

 treated the same for purposes of computing pro rata shares of the settlement fund.”22 If 100%

 of overcharges were actually passed through to end users, then a pro rata distribution among

 resellers and end-users was contrary to the best interest of end-users. Instead of recovering the

 overcharge that was actually passed through to them, they would have recovered only a fraction

 of their actual overcharge. While this may have the superficial appeal of “equality,” forcing the

 party that actually incurred the overcharge to forfeit those damages and instead share them with

 a reseller that passed through the overcharge is unsound as a matter of both economics and

 fairness. While the Resellers may have a different view and have an economic interest in

 claiming that they absorbed an “equal” (or greater) share of the overcharge, Consumers are

 entitled to counsel loyal to them and able to engage an expert to prove that the overcharge was

 overwhelmingly, if not entirely, incurred by Consumers.

D.         The Conflict Will Continue Throughout the Litigation

           The pass-through issue presents a conflict of interest between Resellers and

 Consumers at every stage of the litigation.

           1.      Pleading.

           To state a claim, Plaintiffs must allege injury to their business or property. As

discussed supra, there is a current tension between (a) Resellers’ interest in pleading that

overcharges on broiler chickens harmed purchasers at every stage in the distribution chain,

and (b) Consumers’ interest in pleading that 100% of the overcharges were passed through


     21
     Report and Recommendations of Special Master, ¶ 16, attached as Exhibit B to Declaration
of Daniel E. Gustafson in Support of Motions for Appointment of Gustafson Gluek PLLC and
Cotchett, Pitre & McCarthy, LLP as Interim Class Counsel and Wexler Wallace LLP as Liaison
Counsel for Indirect Purchaser Plaintiffs (“Special Master Report”), ECF No. 116 at p. 68.
     22
          Id. at ¶ 24 (emphasis added); see also id. at ¶ 27.


010636-11 918171 V1
                                                   - 11 -
to end-users and harmed them alone. Here, Indirect Purchaser Counsel filed a single

Consolidated Amended Complaint on behalf of both Indirect Resellers and End-User

Consumers, without distinguishing the separate impact to either. The failure to specifically

allege the impact to either can be fatal under Rule 12(b)(6).23

         2.       Discovery.

         Consumers have an interest in diligently pursuing discovery of Indirect Resellers’

financial records to show that Indirect Resellers passed through the illegal overcharge in the

retail price of chickens. Thus, Consumers will propound significant document requests and

interrogatories, and will seek depositions of Indirect Purchaser Resellers to obtain evidence

necessary to prove the pass-through of overcharges to end users. This discovery will be

necessary to prove injury and to demonstrate that pass through of the overcharge can be

established on a class-wide basis. On the other hand, Indirect Resellers have an interest in

either resisting discovery or demonstrating that the overcharge was not passed through,

including through data and depositions.24 Thus, if Indirect Purchaser Counsel continue to


    23
      See, e.g., In re Domestic Drywall Antitrust Litig., 2016 U.S. Dist. LEXIS 90619, at *17-19
(E.D. Pa. July 13, 2016) (denying motion to dismiss where homebuilders alleged they did not
pass through overcharges to home purchasers, but noting that the pass-through defense would
“disprove[] the element of antitrust injury.”); Harrison, 2016 U.S. Dist. LEXIS 77465, at *18-19
(denying motion to dismiss, in part, because counsel dismissed the merchant reseller plaintiffs
and only alleged claims on behalf of consumer end users, thus eliminating opposing views on
pass-through and apportionment of damages).
    24
      See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig., 2012 U.S. Dist. LEXIS 21696, at
*47 (N.D. Cal. Feb. 21, 2012) (“Defendants also claim that Dr. Netz’s pass-through conclusions
are contradicted by anecdotal evidence obtained during discovery. This evidence consists of
deposition testimony or declarations by various OEMs and retailers that increases in costs of
components or products were not always passed along to customers. See, e.g., Chen Decl. at
Exs. 3 (Dell), 4 (Best Buy), 5 (Newegg.com), 6 (Target), 7 (Radioshack), 24 (HP). Finally,
defendants assert that transaction data obtained from Dell demonstrates that pass through did not
always occur.”). See also Pierre Y. Cremieux, “Assessing Conflict, Impact, and Common
Methods of Proof in Intermediate Indirect-Purchaser Class Action Litigation,” Economics
Committee Newsletter (ABA Spring 2006) at 7 (discussing “significant issues of conflict.”),


010636-11 918171 V1
                                              - 12 -
represent both Resellers and Consumers, they must choose which avenues to pursue more

zealously. Class Counsel appointed for both would impermissibly be tasked with taking and

defending witnesses from both camps. Indeed, counsel would need to take depositions of

their Reseller clients on behalf of their Consumer clients. This is a direct conflict of interest

under Rule 1.7. See Comment 6 to Rule 1.7 (“[A] directly adverse conflict may arise when

a lawyer is required to cross-examine a client … in a lawsuit involving another client …

when the testimony will be damaging to the client.”)

         3.       Class Certification.

         The principal inquiry that will arise at class certification is whether common

questions of fact predominate under Rule 23(b)(3) such that a class may be certified. A key

point of contention will be whether antitrust impact or fact-of injury can be established

through class-wide proof.25 Consumers or End Users must demonstrate that there are two-

levels of impact capable of proof using class-wide evidence: first, that, as a result of

Defendants’ anticompetitive activity, all (or virtually all) retailers in the United States were




available at http://www.analysisgroup.com/uploadedfiles/content/insights/publishing/indirect-
purchaser_aba_article.pdf (last accessed November 25, 2016).
    25
      Comcast Corp. v. Behrend, 133 S. Ct. 1426 (2013). See also Messner v. Northshore Univ.
HealthSystem, 669 F.3d 802, 810 (7th Cir. 2012) (“The central issue under Rule 23(b)(3) became
whether plaintiffs could show on a class-wide basis the antitrust impact of Northshore’s actions
on the proposed class.”). Courts have held that common issues do not predominate where fact-
of-injury cannot be established by common proof. See, e.g., In re New Motor Vehicles Canadian
Exp. Antitrust Litig., 522 F.3d 6, 20 (1st Cir. 2008) (“In antitrust class actions, common issues do
not predominate if the fact of antitrust violation and the fact of antitrust impact cannot be
established through common proof.”); Blades v. Monsanto Co., 400 F.3d 562, 572 (8th Cir.
2005) (“[P]roof of conspiracy is not proof of common injury.”); In re Hydrogen Peroxide
Antitrust Litig., 552 F.3d 305, 311-12 (3d Cir. 2008) (citations omitted).


010636-11 918171 V1
                                               - 13 -
overcharged for their purchases of [the product]; and, second, that all (or virtually all)

retailers passed on the overcharge to the Plaintiffs.26

         Plaintiffs will engage economists to analyze and opine on the extent of antitrust

impact and damages.27 However, Indirect Resellers and Consumers do not have an interest

in the same opinions. Indirect Resellers have an interest in demonstrating antitrust impact at

their level of the distribution chain, without reference to pass through and consumers.

Consumers, on the other hand, have an interest in demonstrating that the overcharge was

passed through to them from the Indirect Resellers. Thus, the economists’ opinions on

whether antitrust impact can be demonstrated on a class-wide basis will focus on different

questions and evidence to analyze impact.

         4.       Summary Judgment and Trial.

         To prevail on both liability and damages, each subclass must prove that it absorbed

the impact of the overcharges. In summary judgment briefing and at trial, class counsel is

tasked with presenting evidence showing that Indirect Resellers were harmed or that

Consumers were harmed, or that one group suffered more of the harm than the other. 28 The




    26
       Hydrogen Peroxide, 552 F.3d at 311-12 (citing In re Graphics Processing Units Antitrust
Litig., 253 F.R.D. 478, 502-04 (N.D. Cal. 2008)).
    27
      See, e.g., In re Optical Disk Drive Antitrust Litig., 2016 U.S. Dist. LEXIS 15899, at *71
(granting indirect purchaser end users’ motion for class certification, based in part on expert’s
pass-through studies); Somers v. Apple, Inc., 258 F.R.D. 354, 361 (N.D. Cal. 2009) (denying
motion for class certification where end users’ expert failed to pass through from resellers to end
users).
    28
      See, e.g., In re Optical Disk, 2016 U.S. Dist. LEXIS 15899, at *71 (granting indirect
purchaser end users’ motion for class certificating, stating “While defendants have offered some
compelling evidence apparently contradicting the IPPs’ contention that cost savings are virtually
always passed through, that evidence, as well as defendant’s attacks on the completeness and
accuracy of Dr. Flamm’s pass-through studies, present issues to be decided on the merits.”)
(emphasis added).


010636-11 918171 V1
                                               - 14 -
higher the damages proven for one subclass, the lower the damages will be for the other

subclass.

         While some courts have glossed over this conflict at the outset of litigation, the trend

is to address it at the leadership stage, before any counsel need be disqualified. For example,

in In re Auto. Wire Harness Sys. Antitrust Litig., MDL 2311 (E.D. Mich.), the district judge

created three separate leadership structures for direct purchasers, and then two types of

indirect purchasers: dealers and end users. (Orders attached as Exhibit E.) That structure has

been implemented in more than a dozen additional cases concerning the price fixing of auto

parts before that Court. Likewise, in In re Aluminum Warehousing Antitrust Litig., MDL

No. 2481 (S.D.N.Y.), and In re Cast Iron Soil Pipe & Fittings Antitrust Litig., MDL No.

2508 (E.D. Tenn.), the courts appointed separate lead counsel for direct purchasers,

commercial end users, and consumer end users. Other courts have followed suit.29

                                     IV.    CONCLUSION

         Because of a current conflict of interest regarding the pass-through of overcharges,

separate counsel should be appointed for Resellers and Consumers in this case. Consumer

Plaintiffs respectfully move this Court to appoint Hagens Berman and Cohen Milstein as

interim co-lead counsel for the proposed Indirect Purchaser Consumer Class.




    29
      In re Vehicle Carriers Servs. Antitrust Litig., No. 13-cv-3306 (D.N.J. Mar. 3, 2014) (ECF
No. 106) (Order Appointing Interim Co-Lead and Liaison Counsel) (appointing separate counsel
for “automobile dealer” and “endpayor” classes); In re Chocolate Confectionary Antitrust Litig.,
No. 1:08-mdl-01935 (M.D. Pa. Sept. 14, 2008) (ECF No. 387) (appointing separate counsel for
“indirect business purchasers” and “indirect end users”); In re Packaged Seafood Prods.
Antitrust Litig., No. 15-md2670 (S.D. Cal. Mar. 24, 2016) (ECF No. 119) (appointing separate
counsel for “indirect commercial food preparer” and “indirect end payer” classes).


010636-11 918171 V1
                                               - 15 -
DATED: November 30, 2016   Respectfully submitted,
                           HAGENS BERMAN SOBOL SHAPIRO LLP

                           By: /s/ Steve W. Berman                      `
                               Steve W. Berman
                           1918 Eighth Avenue, Suite 3300
                           Seattle, Washington 98101
                           Telephone: (206) 623-7292
                           Facsimile: (206) 623-0594
                           E-mail: steve@hbsslaw.com

                           Elizabeth A. Fegan
                           Jeannie Y. Evans
                           HAGENS BERMAN SOBOL SHAPIRO LLP
                           455 N. Cityfront Plaza Drive, Suite 2410
                           Chicago, Illinois 60611
                           Telephone: (708) 628-4949
                           Facsimile: (708) 628-4950
                           E-mail: beth@hbsslaw.com
                           E-mail: jeannie@hbsslaw.com

                           Jeff D. Friedman
                           HAGENS BERMAN SOBOL SHAPIRO LLP
                           715 Hearst Avenue, Suite 202
                           Berkeley, California 94710
                           Telephone: (510) 725-3000
                           Facsimile: (510) 725-3001
                           E-mail: Jefff@hbsslaw.com

                           Attorneys for Plaintiffs Daniel M. Percy, Gloria J.
                           Lathen, Jonas Dimas, Dorothy Monahan, Frank
                           Coe, Lester Patterson, Pamela Tierney, Linda
                           Cheslow, and Natalie Wilbur, Case Nos. 16-cv-
                           08931 and 16-cv-09490




010636-11 918171 V1
                            - 16 -
                      COHEN MILSTEIN SELLERS & TOLL, PLLC

                      By: /s/ Kit A. Pierson
                          Kit A. Pierson
                      1100 New York Ave. NW
                      Suite 500, West Tower
                      Washington, DC 20005
                      kpierson@cohenmilstein.com
                      Brent W. Johnson
                      Richard A. Koffman
                      Emmy L. Levens
                      Robert W. Cobbs
                      COHEN MILSTEIN SELLERS & TOLL, PLLC
                      1100 New York Ave. NW
                      Suite 500, West Tower
                      Washington, DC 20005
                      bjohnson@cohenmilstein.com
                      rkoffman@cohenmilstein.com
                      elevens@cohenmilstein.com
                      rcobbs@cohenmilstein.com

                      Carol V. Gilden
                      Daniel H. Silverman
                      COHEN MILSTEIN SELLERS & TOLL, PLLC
                      190 South LaSalle Street, Suite 1705
                      Chicago, IL 60603
                      cgilden@cohenmilstein.com
                      dsilverman@cohenmilstein.com

                      Attorneys for Plaintiffs Christopher Gilbert, Alison
                      Pauk, Marilyn Strangeland, Leslie Weidner and
                      David Weidner, Case No. 16-9007

                      J. Barton Goplerud
                      HUDSON, MALLANEY, SHINDLER &
                      ANDERSON, P.C.
                      5015 Grand Ridge Drive, Suite 100
                      West Des Moines, Iowa 50265
                      Telephone: (515) 223-4567
                      Facsimile: (515) 223-8887
                      E-mail: jbgoplerud@hudsonlaw.net




010636-11 918171 V1
                       - 17 -
                      David Freydin
                      Timothy A. Scott
                      FREYDIN LAW FIRM
                      8707 Skokie Blvd # 305
                      Skokie, IL 60077
                      E-mail: David.freydin@freydinlaw.com
                      E-mail: Timothy.scott@freydinlaw.com

                      Additional Attorneys for Plaintiffs Daniel M. Percy,
                      Gloria J. Lathen, Jonas Dimas, Dorothy Monahan,
                      Frank Coe, Lester Patterson, Pamela Tierney,
                      Linda Cheslow, and Natalie Wilbur, Case Nos. 16-
                      cv-08931 and 16-cv-09490




010636-11 918171 V1
                       - 18 -
                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 30, 2016, a copy of the foregoing was filed

electronically via the ECF system. Notice of this filing will be sent to the attorneys of record by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.


                                                        /s/ Steve W. Berman
                                                        Steve W. Berman




010636-11 918171 V1
                                               - 19 -
